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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
1199SEIU UNITED HEALTHCARE WORKERS EAST,

                                               Petitioner,
                             v.                            Civil No. 20-cv-03611
PSC COMMUNITY SERVICES, NEW PARTNERS, INC. D/B/A
PARTNERS IN CARE, STELLA ORTON HOME CARE AGENCY,
RICHMOND HOME NEEDS, SUNNYSIDE HOME CARE NOTICE OF APPEAL
PROJECT, SUNNYSIDE CITYWIDE HOME CARE, FAMILY
HOME CARE OF BROOKLYN AND QUEENS, CARE AT HOME,
CHINESE-AMERICAN          PLANNING    COUNCIL     HOME
ATTENDANT PROGRAM, UNITED JEWISH COUNCIL OF THE
EAST SIDE HOME ATTENDANT SERVICE CORP., THE FIRST
CHINESE PRESBYTERIAN COMMUNITY AFFAIRS HOME
ATTENDANT CORP., AZOR HOME CARE, BUSHWICK
STUYVESANT HEIGHTS HOME ATTENDANT, INC., CABS
HOMECARE, RIVERSPRING LICENSED HOMECARE SERVICES
AGENCY, INC., ST. NICHOLAS HUMAN SUPPORTS CORP.,
WARTBURG, ALLIANCE FOR HEALTH, INC., REGION CARE,
INC., SPECIAL TOUCH HOME CARE SERVICES, INC., RAIN,
INC., PRESTIGE HOME CARE, INC., PRESTIGE HOME
ATTENDANT, INC. D/B/A ALL SEASON HOME ATTENDANT,
PERSONAL TOUCH HOME CARE OF N.Y., INC., PRIORITY
HOME SERVICES, PREMIER HOME HEALTH CARE, INC.,
BRONX JEWISH COMMUNITY COUNCIL HOME ATTENDANT
SERVICES, CIDNY INDEPENDENT LIVING SERVICES, HOME
CARE SERVICES FOR INDEPENDENT LIVING, NEW YORK
FOUNDATION FOR SENIOR CITIZENS HOME ATTENDANT
SERVICES, COOPERATIVE HOME CARE ASSOCIATES,
RISEBORO HOME CARE, INC., FEGS HOME ATTENDANT
SERVICES, HOME HEALTH MANAGEMENT SERVICES, INC.,
SCHOOL SETTLEMENT HOME ATTENDANT CORP.,
ROCKAWAY HOME ATTENDANT, BRONXWOOD HOME FOR
THE AGED, INC., ACCENTCARE OF NY, INC., ISABELLA
VISITING CARE, INC., SOCIAL CONCERN COMMUNITY
DEVELOPMENT CORP., ABC HEALTH SERVICES REGISTRY,
ALLIANCE HOME SERVICES, collectively identified by the
Arbitrator as the “HOME HEALTH CARE AGENCIES”,

                                               Respondents.




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       PLEASE TAKE NOTICE that Appellants/Movants Eugenia Barahona Alvarado, Mei Kum

Chu, Sau King Chung, Alvaro Ramirez Guzman, Elida Agustina Mejia Herrera, Leticia Panama

Rivas, Gail Yan, Qun Xiang Ling, Rafaela Cruceta, Virtudes Duran, Wai Kam Lou, Yue Ming

Wu, Cui Ying Mai (collectively “Appellants/Movants”), hereby appeal to the United States Court

of Appeals for the Second Circuit from the Order entered in this action on June 24, 2022, denying

Appellants/Movants’ motion to intervene, denying Appellants/Movants’ motion to partially vacate

the February 25, 2022 Arbitration Award, and granting Respondent/Petitioner 1199SEIU United

Healthcare Worker East’s amended petition to confirm the February 25, 2022 Arbitration Award.

This appeal is taken from each and every part of the June 24, 2022 Order. Final judgment was

entered on June 28, 2022.

Dated: New York, New York
       July 22, 2022                                       VIRGINIA & AMBINDER, LLP
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